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     Marshall M. Hughes, Petitioner/Cross-Respondent  v.  The People of the State of Colorado. Respondent/Cross-Petitioner: No. 24SC606Supreme Court of Colorado, En BancApril 14, 2025
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ,Court
      of Appeals Case No. 22CA2213
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      and Cross-Petition for Writ of Certiorari DENIED.
    